     Case 1:11-cr-00156-PB   Document 20   Filed 01/18/12   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 11-cr-156-PB


Alyssa Phillips, et al.

                               O R D E R


     Defendant Alyssa Phillips has moved through counsel to

continue the February 7, 2012 trial in the above case, citing

the need for additional time to complete discovery and prepare a

defense.   The government and co-defendant Joshua Hensley do not

object to a continuance of the trial date.

     Accordingly, in order to allow the parties additional time

to properly prepare for trial, the court will continue the trial

from February 7, 2012 to April 3, 2012. In agreeing to continue

the trial, the court finds pursuant to 18 U.S.C.A. '

3161(h)(7)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best

interests of the public and the defendants in a speedy trial.
      Case 1:11-cr-00156-PB   Document 20   Filed 01/18/12   Page 2 of 2




      The January 24, 2012 final pretrial conference is continued

to March 26, 2012 at 2:00 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

January 18, 2012

cc:   Robert S. Carey, Esq.
      Matthew Lahey, Esq.
      Harry Batchelder, Esq.
      Jennifer Davis, AUSA
      United States Marshal
      United States Probation




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